               Case 23-11240-TMH           Doc 384       Filed 11/02/23    Page 1 of 12




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                     )
In re:                                               )    Chapter 11
                                                     )
AMERIFIRST FINANCIAL, INC., et al., 1                )    Case No. 23-11240 (TMH)
                                                     )    (Jointly Administered)
                                Debtors.             )
                                                     )    Re: D.I. 280, 326 351 and 368
                                                     )    Hearing Date: Nov. 6, 2023 at 12:00 p.m.
                                                     )    Objection Deadline: Nov. 6, 2023 at 12:00 p.m.



                UNITED STATES TRUSTEE’S OMNIBUS OBJECTION TO
                         MOTIONS TO FILE UNDER SEAL

         Andrew R. Vara, the United States Trustee for Region 3 (“U.S. Trustee”), through his

counsel, files this Omnibus Objection to Motions to File Under Seal (the “Seal Objection”), and

in support thereof, the U.S. Trustee states:

                                  PRELIMINARY STATEMENT

         1.     Motions to File Under Seal (the “Seal Motions”) have been filed by several parties

in these cases. The purported bases of the requests are the inclusion of information, exhibits and/or

deposition testimony in court filings that were designated by the proponent thereof as confidential

during the discovery process. The majority of the alleged confidential information consists of

communications shared between parties allegedly interacting in arms-length transactions. No

efforts have been undertaken to support the confidential designations and to prove that the

information constitutes a trade secret or confidential research, development, or commercial

information that should be protected pursuant to section 107 (b) of the Bankruptcy Code.


1
    The Debtors and the last four digits of their respective taxpayer identification numbers include:
    Phoenix 1040 LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550
    McKelleps Road, Suite 117, Mesa, AZ 85203.
              Case 23-11240-TMH         Doc 384      Filed 11/02/23     Page 2 of 12



Accordingly, the Seal Motions should be denied and the filings in questions filed in full on the

docket of these cases.

                               JURISDICTION & STANDING

       2.      Pursuant to 28 U.S.C. § 1334, applicable order(s) of the United States District

Court for the District of Delaware issued pursuant to 28 U.S.C. § 157(a), and 28 U.S.C. §

157(b)(2)(A), this Court has jurisdiction to hear and resolve this Motion.

       3.      Under 28 U.S.C. § 586, the U.S. Trustee is charged with overseeing the

administration of Chapter 11 cases filed in this judicial district. This duty is part of the U.S.

Trustee’s overarching responsibility to enforce the bankruptcy laws as written by Congress and

interpreted by the courts. See Morgenstern v. Revco D.S., Inc. (In re Revco D.S., Inc.), 898 F.2d

498, 500 (6th Cir. 1990) (describing the U.S. Trustee as a “watchdog”).

       4.      The U.S. Trustee has standing to be heard on this matter pursuant to 11 U.S.C. §

307.

                                       BACKGROUND


       5.      The Debtors filed voluntary petitions for relief under Chapter 11 on August 24,

2023 (the “Petition Date”).

       6.      Debtor Amerifirst Financial, Inc. (“AFI”) was a mid-sized independent mortgage

company that owned certain loan master servicing rights (“MSRs”). (Declaration of T. Scott

Avila in Support of First Day Motions (“Avila Decl.”) ¶ 5, D.I. 20). Debtor Phoenix 1040 LLC

(“Phoenix”) has no operations other than holding 100% of the common equity interest in AFI

due to a change of control event that occurred on the Petition Date. Id. ¶¶ 5 and 12.

       7.      In documents dated as of May 15, 2023, AFI entered into various agreements with

its prepetition lender RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP



                                                2
                 Case 23-11240-TMH       Doc 384     Filed 11/02/23     Page 3 of 12



Customized Credit Fund (Fund IVA), L.P. (each, a “Prepetition Lender” and collectively, the

“Prepetition Lenders”), and RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. as

administrative agent (the “Prepetition Agent”, and with the Prepetition Lenders, the “Prepetition

Lender Parties”). Id. ¶ 7. In connection therewith, AFI shareholders Eric Bowlby and Kenneth

Bowlby entered into a pledge agreement with the prepetition secured parties, also dated as of

May 15, 2023, which granted liens and security interests in 100% of the common stock of AFI

in favor of the Prepetition Agent (the “Pledge Agreement”). Id. ¶ 10.

           8.    On August 24, 2023, the Prepetition Agent issued a Notice of Events of Default

and declared the obligations owed by AFI were immediately due and payable. Id. ¶ 12. The

Prepetition Agent also exercised its rights under the Pledge Agreement and transferred its rights

under the Pledge Agreement and AFI’s common stock to Phoenix. Id. As the sole shareholder

of AFI, Phoenix executed various documents that, inter alia, removed and replaced the then

current board of directors, and the new AFI Board then removed all officers and elected new

ones. Id. The new AFI Board also authorized the CRO to take all necessary action in connection

with AFI’s bankruptcy filing. (Unanimous Written Consent of the Board of Directors of

Amerifirst Financial, Inc., Effective as of August 24, 2023, attached to AFI’s Chapter 11 Petition,

D.I. 1).

           9.    AFI’s Petition lists Phoenix as owning 100% of its common shares, and RCP

Credit Opportunities Fund Loan SPV (Fund III), L.P. (“RCP Fund III”) (one of the Prepetition

Lenders) as owning 100% of its preferred shares. Phoenix’ Petition also identifies RCP Fund III

as its equity owner.

           10.   On August 29, 2023, Debtors filed a Motion (the “DIP Motion”) seeking approval

of Debtor in Possession financing from the Prepetition Lenders RCP Fund III and RCP




                                                3
              Case 23-11240-TMH          Doc 384     Filed 11/02/23      Page 4 of 12



Customized Credit Fund (Fund IV-A), L.P. (“DIP Lenders”), consisting of a senior secured,

superpriority term loan facility in the principal amount of up to $5,000,000 (the “DIP Loans”) to

be used for general liquidity purposes, including the payment of administrative expenses and

estate professional fees. (D.I. 21).

       11.     On August 31, 2023, this Court issued an interim order (the “Interim DIP Order”)

granting the DIP Motion to the extent set forth therein. (D.I. 61). The Debtors were authorized

to borrow up to $2,775,000 from the DIP Lenders. A committee or other party in interest had 75

days after entry of the Interim DIP Order to challenge the Prepetition Obligations. Id. ¶ 5(f).

Accordingly, the Challenge Period would run at the earliest on November 14, 2023.

       12.     Further, if a chapter 7 or a chapter 11 trustee was appointed or elected prior to the

end of the Challenge Period, the Challenge Period solely for any such trustee was extended to

the date that is the later of (A) 75 calendar days after entry of the Interim DIP Order, or (B) the

date that is 30 calendar days after their appointment, or any such later date as has been agreed to

in writing by the Prepetition Lenders or has been ordered by the Court for cause upon a motion

filed and served within any applicable period. Id.

       13.     On September 15, 2023, the U.S. Trustee appointed the Official Committee of

Unsecured Creditors (the “Committee”).

       14.     On September 19, 2023, the U.S. Trustee filed a Motion to Transfer Venue (the

“Venue Motion”), asking that these cases be transferred to the United States Bankruptcy Court

for the District of Arizona (the “Arizona Bankruptcy Court”) in the interest of justice because

Debtors had abused the bankruptcy system. (D.I. 142).

       15.     Discovery was then taken in connection with both the DIP and Venue Motions.

On October 5, 2023, the Court issued a Scheduling and Protective Order that required no non-




                                                4
               Case 23-11240-TMH         Doc 384     Filed 11/02/23     Page 5 of 12



public or confidential information regarding the Debtor could be shared with the law firm of

Kasowitz Benson Torres LLC (“Kasowitz”) without leave of Court (the “October Order”). (D.I.

142).

         16.   The October Order did not address the production or filing of confidential

information. The parties to the discovery process, which included, inter alia, the Debtors, the

Committee, Prepetition and DIP Lenders, and Eric Bowlby, former owner and CEO of AFI, never

entered into a Confidentiality Agreement or Stipulation. Further, the Court was never asked to

nor did it ever enter a protective order to govern the discovery process.

         17.   Most, if not all, materials were designated as “Confidential” by the producing

party. Deposition testimony was also labeled confidential. Many of the responses and replies

filed with this Court in connection with the DIP and Venue Motions referenced produced

information labeled confidential or deposition testimony designated as confidential. (See, e.g.,

D.I. 256, 268, 310 and 335). The filings were sealed, and eventually related redacted versions

and motions to seal were filed. The redactions were based solely on the confidential designation

given to a document at the time it was produced or to the deposition testimony at the time it was

given.

         18.   As of the filing of this Seal Objection, no declaration or other evidence has been

provided to support the confidentiality claims. While the October Order was in part designated

a “protective order,” the applicable provisions only required that certain information not in the

first instance be provided to Kasowitz. There were no provisions governing the filing of

information under seal.




                                                5
               Case 23-11240-TMH         Doc 384     Filed 11/02/23      Page 6 of 12



         19.   The parties have not satisfied their burden of demonstrating that the redacted

portions of filings made under seal may in fact be sealed pursuant to Section 107 of the

Bankruptcy Code, Fed. R. Bankr. P. 9018, and Local Rule of Bankruptcy Procedure 9018- 1.

                                          ARGUMENT

         20.   “It is clear that the courts of this country recognize a general right to inspect and

copy public records and documents, including judicial records and documents.” Nixon v. Warner

Communications, Inc., 435 U.S. 589, 597 (1978); accord Pansy v. Borough of Stroudsburg, 23

F.3d 772, 780-81 (3d Cir. 1994) (recognizing “a right of access to judicial proceedings and

judicial records,” and that “this right of access is ‘beyond dispute’”) (citation omitted). Courts

“have recognized a strong presumption of public access to court records. . . . This preference

for public access is rooted in the public’s first amendment right to know about the administration

of justice. It helps safeguard ‘the integrity, quality, and respect in our judicial system.’” In re

Orion Pictures Corp., 21 F.3d 24, 26 (2d Cir. 1994) (citations omitted); see also In re Anthracite

Capital, Inc., 492 B.R. 162, 171 (Bankr. S.D.N.Y. 2013) (“A court’s ability to limit the public’s

right to access remains an extraordinary measure that is warranted only under rare circumstances

as ‘public monitoring is an essential feature of democratic control.’” (citation omitted)).

         21.   “There is a strong presumption in favor of public access to bankruptcy

proceedings and records. During a chapter 11 reorganization, a debtor’s affairs are an open book

and the debtor operates in a fishbowl.” In re Alterra Healthcare Corp., 353 B.R. 66, 73 (Bankr.

D. Del. 2006) (citations omitted); see also In re Continental Airlines, 150 B.R. 334, 341 (D. Del.

1993).

         22.   Pursuant to section 107 (a) of the Bankruptcy Code, filings made in a bankruptcy

case are “public records and open to examination by an entity at reasonable times without




                                                 6
              Case 23-11240-TMH          Doc 384      Filed 11/02/23     Page 7 of 12



charge.” Section 107 of the Bankruptcy Code establishes “a broad right of public access to all

papers filed in a bankruptcy case, subject to certain limited exceptions.” In re A C & S Inc., 775

Fed.Appx.78, 79 (3d Cir. 2019). “Under § 107(a), unless a paper filed in a bankruptcy court falls

within one of the express exceptions in § 107(b) or (c), it must be open to public inspection. On

the other hand, if a paper falls within one of the express exceptions in § 107(b), on the request of

a party in interest, the bankruptcy court shall protect a person.” In re Food Management Group,

LLC, 359 B.R. 543, 554 (Bankr. S.D.N.Y. 2007). Sealing is “an extraordinary measure that is

warranted only under rare circumstances as ‘public monitoring is an essential feature of

democratic control.’” In re Anthracite Capital, Inc., 492 B.R. 162, 171 (Bankr. S.D.N.Y. 2013)

(citation omitted).

       23.     Section 107 (b) provides that the bankruptcy court may, though, on request of a

party in interest protect a “trade secret or confidential research, development, or commercial

information.” Presumably the parties here contend that the information in question constitutes

“commercial information” and must be redacted.

       24.     “Commercial information is information whose disclosure “would result in ‘an

unfair advantage to competitors by providing them information as to the commercial operations

of the debtor.’” See In re Alterra Healthcare Corp., 353 B.R. at 75 (citing In re Orion Pictures

Corp., 21 F.3d at 27-28). Disclosure of the information must “‘reasonably be expected to cause

the entity commercial injury.’” In re Alterra Healthcare Corp., 353 B.R. at 75 (citing In re

Northstar Energy, Inc., 315 B.R. 425, 429 (Bankr. E.D. Tex. 2004)). The possibility that

disclosure of information will give negative publicity to or embarrass a party in interest is not a

basis on which to seal records under section 107(b). See In re Alterra Healthcare Corp., 353

B.R. at 77.




                                                 7
             Case 23-11240-TMH          Doc 384     Filed 11/02/23     Page 8 of 12



       25.     The confidentiality proponent has the burden of showing that a request to seal

documents falls within the parameters of section 107(b). See In re Food Management Group,

LLC, 359 B.R. at 561; accord In re FiberMark, Inc., 330 B.R. 480, 504 (Bankr. D. Vt. 2005); In

re Oldco M Corp., 466 B.R. 234, 237 (Bankr. S.D.N.Y. 2012).

       26.     The designating parties also bear the burden of showing that the information falls

within the parameters of an exception to Section 107(a) by demonstrating “that the interest in

secrecy outweighs the presumption in favor of access.” In re Continental Airlines, 150 B.R. at

340 (quotation marks, citations omitted); accord In re Food Management Group, LLC, 359 B.R.

at 561; In re FiberMark, Inc., 330 B.R. at 504; In re Oldco M Corp., 466 B.R. at 237. “It is not

an easy burden nor should it be.” In re Gitto/Global Corp., 321 B.R. 367, 373 (Bankr. D. Mass.

2005), aff’d 2005 WL 1027348 (D. Mass. May 2, 2005), aff’d 422 F.3d 1 (1st Cir. 2005).

       27.     No party here has met the burden imposed by Section 107. The Seal Motions do

not establish that the sealed information falls within the narrow categories set forth in Section

107(b): trade secrets; confidential commercial, research, or development information; or

scandalous or defamatory matter. The redacted information concerns matters of great public

interest in these Bankruptcy Cases as it was before Court when it ruled on the Venue Motion and

is before the Court in connection with the upcoming final DIP hearing.

       28.     A document that is filed with the Court in a non-discovery matter or is otherwise

incorporated or integrated into the Court’s adjudicatory proceedings is a judicial record to which

the common law’s strong presumption of access attaches. See In re Avandia Marketing, Sales

Practices and Products Liability Litigation, 924 F.3d 662, 672 (3d Cir. 2019); Leucadia, Inc. v.

Applied Extrusion Technologies, Inc., 998 F.2d 157, 164 (3d Cir. 1993) (“[T]here is a

presumptive right of public access to pretrial motions of a nondiscovery nature, whether




                                                8
              Case 23-11240-TMH          Doc 384      Filed 11/02/23      Page 9 of 12



preliminary or dispositive, and the material filed in connection therewith.”). The standard for

sealing judicial records is “[a]nalytically distinct” from and “more rigorous” than the Rule 26(c)

standard for protecting discovery materials. In re Avandia Marketing, Sales Practices and

Products Liability Litigation, 924 F.3d at 670-73.

       On one end of the spectrum, there is no public right of access to unfiled discovery
       materials. . . . But, once a document produced in discovery is filed with the court,
       there is a presumptive right of public access. . . . A common justification offered
       up as ‘good cause’ for sealing a court filing is that a document is (or contains
       information that is) designated as confidential under a stipulated protective order.
       That alone, however, is not enough. The ‘good cause’ that justifies an umbrella
       protective order at the discovery stage (and allows such designations) is not
       sufficient to meet the heightened standard to seal filings about dispositive motions
       or trial. . . . Parties therefore may not rely solely on their designations under a
       discovery protective order to support sealing motions; they must show that each
       document they seek to seal should be sealed under the appropriate standard.


Bradford & Bigelow, Inc. v. Richardson, 109 F.Supp.3d 445, 447-48 (D. Mass. 2015).

       29.     Even if there was a protective order that covered the information at issue, it would

not constitute sufficient grounds to support the Seal Motions. See In re Columbia Gas System,

Inc., 1995 WL 917032 at *2 (D. Del. Oct. 4, 1995) (“[A] protective order may be binding on the

parties to it during the discovery phase of litigation, but not beyond, if a party chooses to utilize

‘protected material’ in any matter other than a discovery dispute.”); Kamakana v. City and

County of Honolulu, 447 F.3d 1172, 1180 (9th Cir. 2006) (“Unlike private materials unearthed

during discovery, judicial records are public documents almost by definition, and the public is

entitled to access by default. This fact sharply tips the balance in favor of production when a

document, formerly sealed for good cause under Rule 26(c), becomes part of a judicial record.”).

An agreement among parties to keep information confidential is not determinative. See In re

Muma Services, Inc., 279 B.R. 478, 485 (Bankr. D. Del. 2002) (if parties could file documents

under seal simply because of contractual confidentiality provisions, then the Court “would never



                                                 9
              Case 23-11240-TMH          Doc 384       Filed 11/02/23   Page 10 of 12



have control over motion practice” and Section 107 “would be meaningless.”); Bradford &

Bigelow, Inc. v. Richardson, 109 F.Supp.3d at 447 (some parties have “misconception that they,

rather than the court, get to decide when documents are sealed. That is not so.”).

        30.     Section 105 of the Bankruptcy Code is not an independent basis on which to grant

the Seal Motions. Section 105(a) “has a limited scope.” In re Continental Airlines, 203 F.3d

203, 211 (3d Cir. 2000). A Bankruptcy Court’s equitable powers “must and can only be exercised

within the confines of the Bankruptcy Code.” Norwest Bank Worthington v. Ahlers, 485 U.S.

197, 206 (1988). “The general grant of equitable power contained in § 105(a) cannot trump

specific provisions of the Bankruptcy Code and must be exercised within the parameters of the

Code itself.” In re Combustion Engineering, Inc., 391 F.3d 190, 236 (3d Cir. 2004). The

Bankruptcy Court “cannot waive or modify Bankruptcy Code requirements that are plain and

unambiguous because it agrees with the policy underlying the debtor’s arguments.” In re

Columbia Gas Systems Inc., 33 F.3d 294, 302 (3d Cir. 1994). “[W]hen a specific Code section

addresses an issue, a court may not employ its equitable powers to achieve a result not

contemplated by the Code.” Matter of Fesco Plastics Corp., Inc., 996 F.2d 152, 154 (7th Cir.

1993). Here, Section 105 cannot be used to expand the reach of Section 107 or reach a result that

is inconsistent with it. Fed. R. Bankr. P. 9018 cannot be used to reach a different result, either.

See In re Anthracite Capital, Inc., 492 B.R. at 171 (Fed. R. Bankr. P. 9018 “does not expand a

bankruptcy court’s ability to limit access to papers filed beyond the powers conferred in § 107,

nor does it provide a separate basis for relief.”).

        31.     The U.S. Trustee reserves any and all rights, remedies and objections, including

to complement, supplement, augment, alter and/or modify this objection.




                                                  10
              Case 23-11240-TMH         Doc 384      Filed 11/02/23    Page 11 of 12



        WHEREFORE, the U.S. Trustee respectfully requests that the Court deny the Seal

Motions and grant such other and further relief as this Court deems appropriate and just.


                                               Respectfully submitted,

                                               ANDREW R. VARA
                                               UNITED STATES TRUSTEE FOR
                                               REGIONS 3 AND 9

                                               By: /s/ Linda Richenderfer
                                               Linda Richenderfer (DE # 4138)
                                               United States Department of Justice
                                               Office of the United States Trustee
                                               J. Caleb Boggs Federal Building
                                               844 N. King Street, Room 2207, Lockbox 35
                                               Wilmington, DE 19801
                                               (302) 573-6491 (Tel.)
  Dated: November 2, 2023                      (302) 573-6497 (Fax)
                                               Email: linda.richenderfer@usdoj.gov




                                                11
            Case 23-11240-TMH         Doc 384      Filed 11/02/23    Page 12 of 12



                               CERTIFICATE OF SERVICE

       I, Linda Richenderfer, hereby certify that I served copies of the United States Trustee’s

Omnibus Objection to Motions to File Under Seal through the CM/ECF notification system and

by email on November 2, 2023.



                                                           s/Linda Richenderfer
                                                           Linda Richenderfer




                                              12
